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                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF MISSISSIPPI

   IN RE: BLONDELL P. TUTWILER                                                    NO. 18-12412-NPO

                      OBJECTION TO MOTION TO AVOID JUDICIAL LIEN
          Annie Border-Blackwell, as Executrix of the Estate of Julia Tutwiler Borders, Deceased
   (“Movant”) objects to the Debtor’s motion to avoid judicial lien (Doc 28) and for cause would
   show as follows:
          1.      Movant possesses a valid unavoidable judgment lien on all of the real and
   personal property assets of the Debtor. No sums have been paid on the Judgment.

          2.      The lien of the Movant attaches to all non-exempt property of the Debtor. Movant
   has objected to the Debtor’s claimed exemptions and the alleged value of each.
          3.      Until the exemption issue is resolved, the Debtor’s motion is premature and must
   be denied.
          WHEREFORE, PREMISES CONSIDERED, Annie Border-Blackwell, as Executrix of
   the Estate of Julia Tutwiler Borders, Deceased requests that this Court deny the Debtor’s motion
   to avoid judicial lien and grant such other relief as is necessary under the circumstances.
                  DATED: October 9, 2018

                                                  ANNIE BORDER-BLACKWELL, AS
                                                  EXECUTRIX OF THE ESTATE OF JULIA
                                                  TUTWILER BORDERS, DECEASED

                                                 By:     /s/ Jeff Rawlings
                                                         Her Attorney

                                    CERTIFICATE OF SERVICE
          I served a copy of the foregoing on October 9, 2018 via the ECF notification service to
   Gwendolyn Baptist-Rucker, thebaptistlawfirm18@gmail.com, Jeffrey A. Levingston,
   jleving@bellsouth.net and the Office of the U. S. Trustee, USTPRegion05.AB.ECF@usdoj.gov.

                                                 /s/ Jeff Rawlings
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